8/13/2021                                                                  CAND-ECF

                                                                                                                        CONSENT

                                                U.S. District Court
                                    California Northern District (San Francisco)
                                  CIVIL DOCKET FOR CASE #: 3:21-cv-04869-JD


 Brennan et al v. Johnson & Johnson Consumer, Inc. et al                              Date Filed: 06/24/2021
 Assigned to: Judge James Donato                                                      Jury Demand: Plaintiff
 Relate Case Cases: 3:21-cv-05419-JD                                                  Nature of Suit: 365 Personal Inj. Prod.
                     3:21-cv-05524-JD                                                 Liability
 Case in other court: Alameda County Superior Court,                                  Jurisdiction: Diversity
                     RG21101025
 Cause: 28:1332 Diversity-(Citizenship)
 Plaintiff
 Katherine Brennan                                                    represented by Kiley Lynn Grombacher
                                                                                     Bradley Grombacher, LLP
                                                                                     31365 Oak Crest Drive
                                                                                     Suite 240
                                                                                     Westlake Village, CA 91361
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                                                                                     Fax: 805-270-7589
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                                                                                     kgrombacher@bradleygrombacher.com
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                                                                                     ATTORNEY TO BE NOTICED

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 Michelle Mang                                                        represented by Kiley Lynn Grombacher
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                      R. Jason Richards
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?874454206200157-L_1_0-1                                                         1/5
8/13/2021                                                                  CAND-ECF


 V.
 Defendant
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8/13/2021                                                                  CAND-ECF

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 Defendant
 Neutrogena Corporation


 V.
 Movant
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                                                                                     Email: tim@rumbergerlaw.com
                                                                                     ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  06/24/2021             1 NOTICE OF REMOVAL from Alameda County Superior Court. Their case number is
                           RG21101025. (Filing fee $402 receipt number 0971-16112149). Filed byJohnson &
                           Johnson Consumer, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                           Exhibit D, # 5 Declaration of Matthew Plugues, # 6 Declaration of Jennifer Sheehy, # 7
                           Civil Cover Sheet)(Lafayette, Gary) (Filed on 6/24/2021) (Entered: 06/24/2021)
  06/24/2021             2 Certificate of Interested Entities by Johnson & Johnson Consumer, Inc. (Lafayette, Gary)
                           (Filed on 6/24/2021) (Entered: 06/24/2021)
  06/25/2021             3 MOTION for leave to appear in Pro Hac Vice Application for Admission of Attorney Pro
                           Hac Vice (Civil Local Rule 11-3) ( Filing fee $ 317, receipt number 0971-16114267.) filed
                           by KATHERINE BRENNAN, Michelle Mang. (Attachments: # 1 Exhibit Certificate of
                           Good Standing)(Richards, R.) (Filed on 6/25/2021) (Entered: 06/25/2021)
  06/25/2021             4 Case assigned to Magistrate Judge Kandis A. Westmore.

                             Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                             Notice of Removal, Summons and the assigned judge's standing orders and all other new
                             case documents upon the opposing parties. For information, visit E-Filing A New Civil
                             Case at http://cand.uscourts.gov/ecf/caseopening.

                             Standing orders can be downloaded from the court's web page at
                             www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and returned
                             electronically. Counsel is required to send chambers a copy of the initiating documents
                             pursuant to L.R. 5-1(e)(7). A scheduling order will be sent by Notice of Electronic Filing
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?874454206200157-L_1_0-1                                                    3/5
8/13/2021                                                                 CAND-ECF

                             (NEF) within two business days. Consent/Declination due by 7/9/2021. (haS, COURT
                             STAFF) (Filed on 6/25/2021) (Entered: 06/25/2021)
  06/25/2021             5 CERTIFICATE OF SERVICE by Johnson & Johnson Consumer, Inc. (Lafayette, Gary)
                           (Filed on 6/25/2021) (Entered: 06/25/2021)
  06/25/2021             6 CERTIFICATE OF SERVICE by Johnson & Johnson Consumer, Inc. (Lafayette, Gary)
                           (Filed on 6/25/2021) (Entered: 06/25/2021)
  06/28/2021             7 ORDER by Magistrate Judge Kandis A. Westmore Granting 3 Motion for Pro Hac
                           Vice.(amgS, COURT STAFF) (Filed on 6/28/2021) (Entered: 06/28/2021)
  07/06/2021             8 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-
                           16145447.) filed by Johnson & Johnson Consumer, Inc.. (Attachments: # 1 Certificate of
                           Good Standing)(Zalesin, Steven) (Filed on 7/6/2021) (Entered: 07/06/2021)
  07/06/2021             9 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-
                           16145519.) filed by Johnson & Johnson Consumer, Inc.. (Attachments: # 1 Certificate of
                           Good Standing)(Knobler, Jonah) (Filed on 7/6/2021) (Entered: 07/06/2021)
  07/06/2021           10 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-
                          16145572.) filed by Johnson & Johnson Consumer, Inc.. (Attachments: # 1 Certificate of
                          Good Standing)(Cohen, Andrew) (Filed on 7/6/2021) (Entered: 07/06/2021)
  07/07/2021           11 ORDER by Magistrate Judge Kandis A. Westmore granting 8 Motion for Pro Hac
                          Vice as to Steven A. Zalesin. (kcS, COURT STAFF) (Filed on 7/7/2021) (Entered:
                          07/07/2021)
  07/07/2021           12 ORDER by Magistrate Judge Kandis A. Westmore granting 9 Motion for Pro Hac
                          Vice as to Jonah M. Knobler. (kcS, COURT STAFF) (Filed on 7/7/2021) (Entered:
                          07/07/2021)
  07/07/2021           13 ORDER by Magistrate Judge Kandis A. Westmore granting 10 Motion for Pro Hac
                          Vice as to Andrew D. Cohen. (kcS, COURT STAFF) (Filed on 7/7/2021) (Entered:
                          07/07/2021)
  07/09/2021           14 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Johnson &
                          Johnson Consumer, Inc... (Lafayette, Gary) (Filed on 7/9/2021) (Entered: 07/09/2021)
  07/09/2021           15 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Katherine
                          Brennan, Michelle Mang.. (Grombacher, Kiley) (Filed on 7/9/2021) (Entered: 07/09/2021)
  07/29/2021           16 NOTICE by George B Rafal of Joinder in Administrative Motion to Relate Cases
                          (Attachments: # 1 Declaration)(Rumberger, Timothy) (Filed on 7/29/2021) (Entered:
                          07/29/2021)
  07/30/2021                 Electronic filing error. Incorrect event used. The correct event ca n be found at: Civil
                             Events > Other Filings > Other Documents > ; Joinder. [err101] Incorrect PDF atta ched.
                             [err201] The correct event is Joinder. Document filed in wrong case. [err401] Please re-file
                             in its entirety. Re: 16 Notice (Other) filed by George B Rafal (jlgS, COURT STAFF) (Filed
                             on 7/30/2021) (Entered: 07/30/2021)
  08/02/2021           17 NOTICE of Change In Counsel by Barbara Louise Lyons (Lyons, Barbara) (Filed on
                          8/2/2021) (Entered: 08/02/2021)
  08/03/2021           18 MOTION to Relate Case Plaintiff's Administrative Motion to Relate Cases Pursuant to
                          Civil Local Rule 3-12 filed by Katherine Brennan, Michelle Mang. (Grombacher, Kiley)
                          (Filed on 8/3/2021) (Entered: 08/03/2021)
  08/10/2021           19 ORDER by Magistrate Judge Kandis A. Westmore Relating Cases and Reassignment
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?874454206200157-L_1_0-1                                                 4/5
8/13/2021                                                                  CAND-ECF

                             to a District Judge.(amgS, COURT STAFF) (Filed on 8/10/2021) Modified on
                             8/10/2021 (amgS, COURT STAFF). (Entered: 08/10/2021)
  08/11/2021           20 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random,
                          and blind system pursuant to General Order No. 44 to Judge James Donato for all
                          further proceedings. Magistrate Judge Kandis A. Westmore no longer assigned to
                          case, Notice: The assigned judge participates in the Cameras in the Courtroom Pilot
                          Project. See General Order No. 65 and http://cand.uscourts.gov/cameras.Signed by
                          the Clerk on 8/11/2021. (Attachments: # 1 Notice of Eligibility for Video Recording)
                          (anjS, COURT STAFF) (Filed on 8/11/2021) (Entered: 08/11/2021)
  08/12/2021           21 CASE MANAGEMENT SCHEDULING ORDER: Initial Case Management
                          Conference set for 10/21/2021 10:00 AM in San Francisco, Courtroom 11, 19th Floor.
                          Case Management Statement due by 10/14/2021. Signed by Judge James Donato on
                          8/12/2021. (lrcS, COURT STAFF) (Filed on 8/12/2021) (Entered: 08/12/2021)



                                                         PACER Service Center
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                                                               08/13/2021 07:40:15
                                   PACER
                                                     pbwtmco1:2611290:0 Client Code:   z9999-006008
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                                                                          Search       3:21-cv-04869-
                                   Description:      Docket Report
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                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 1 of 15




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16   Attorneys for Johnson & Johnson Consumer Inc.

17
                                UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19

20
     KATHERINE BRENNAN and MICHELLE MANG,
21   individually and on behalf of all others similarly
     situated,                                                  CASE NO.
22
                                   Plaintiffs,
                                                                NOTICE OF REMOVAL
23
            vs.                                                 OF CIVIL ACTION
24
     NEUTROGENA CORPORATION and JOHNSON                         Removed from the Superior Court of
25   & JOHNSON CONSUMER COMPANIES, INC.;                        California, Alameda County, Case No.
                         Defendants.                            RG21101025
26
                                                                State Court action filed: May 26, 2021
27

28
                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 2 of 15




 1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:

 2           PLEASE TAKE NOTICE that Johnson & Johnson Consumer Inc. (“JJCI”)1 hereby

 3   removes this action pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453 from the Superior

 4   Court for the State of California for the County of Alameda to the United States District Court

 5   for the Northern District of California. JJCI is represented by the undersigned counsel and

 6   consents to this Notice of Removal. The grounds for removal are set forth below.

 7           1.       On May 26, 2021, Plaintiffs Katherine Brennan and Michelle Mang (together,

 8   “Plaintiffs”) commenced this action by filing a Class Action Complaint (“Compl.”) in the

 9   Superior Court for the State of California for the County of Alameda, captioned Katherine

10   Brennan and Michelle Mang, Individually and on Behalf of All Others Similarly Situated vs.

11   Neutrogena Corporation and Johnson & Johnson Consumer Companies, Inc., Case No. RG21-

12   101025.

13           2.       On or about June 2, 2021, Plaintiffs’ counsel attempted to deliver a demand letter

14   and a courtesy copy of the Complaint, without a summons, to the General Counsel of “Johnson

15   & Johnson Consumer Companies, Inc.,” a defunct entity that no longer exists. See infra ¶¶ 20-

16   26. Even if this entity existed, the delivery of a courtesy copy of a complaint, without formal

17   service of process, does not start the 30-day deadline to remove. See Murphy Bros., Inc. v.

18   Michetti Pipestringing, Inc., 526 U.S. 344, 347-48 (1999); 28 U.S.C. § 1446(b).

19           3.       On June 17, 2021, Plaintiffs’ counsel emailed to Johnson & Johnson’s legal

20   department (at the address ServiceOfProcess@its.jnj.com), a summons made out to “Neutrogena

21   Corporation,” another entity that no longer exists, along with the Complaint in this matter, a civil

22   cover sheet, a notice of hearing, and a notice and acknowledgment of receipt.

23           4.       On June 21, 2021, Plaintiffs’ counsel emailed to Johnson & Johnson’s legal

24   department (at the address ServiceOfProcess@its.jnj.com) file-stamped copies of the original

25

26
     1
       The entities named as defendants in the Complaint, Neutrogena Corporation and Johnson & Johnson Consumer
27   Companies, Inc., no longer exist. Johnson & Johnson Consumer Inc. is the sole proper defendant in this action. See
     infra ¶¶ 20-26.
28                                                          -2-
                 Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 3 of 15




 1   summons, Complaint, exhibits to the Complaint, and civil case cover sheet; a notice of hearing

 2   issued by the state court dated June 9, 2021; a non-file-stamped document styled as an Amended

 3   Complaint in this matter; a non-file-stamped document styled as a request for dismissal without

 4   prejudice of Defendant Johnson & Johnson Consumer Companies, Inc. in this matter; and a non-

 5   file-stamped declaration in support of the aforementioned request for dismissal. This email was

 6   again made out to “Neutrogena Corporation,” an entity that does not exist.

 7          5.      The non-file-stamped document styled as an Amended Complaint (“Am.

 8   Compl.”) is captioned Katherine Brennan and Michelle Mang, Individually and on Behalf of All

 9   Others Similarly Situated vs. Neutrogena Corporation, Case No. RG21-101025. The non-file-

10   stamped Amended Complaint and request for dismissal are dated June 10, 2021. It appears from

11   the website of the Superior Court for the State of California for the County of Alameda that these

12   documents were filed with that court on June 11, 2021, although the state court’s website did not

13   reflect until today (June 24, 2021) that any filing had been made on that date.

14          6.      As required by 28 U.S.C. § 1446(a), attached as Exhibit A are true and correct

15   copies of all process, pleadings, orders, and other papers or exhibits filed in the state court.

16          7.      Removal is timely because the attempted email service of the Complaint and

17   Amended Complaint on June 17 and June 21 on a nonexistent entity did not commence the time

18   period for removal. Even if it had commenced the time period for removal, this Notice of

19   Removal would be timely because it has been filed within 30 days of these dates.

20          8.      Even though JJCI, the sole proper defendant, has not yet been served, it may still

21   effect removal of this action. See Sherman v. Haynes & Boone, No. 5:14-cv-01064, 2014 WL

22   4211118, at *1 (N.D. Cal. Aug 22, 2014) (noting that “a defendant may remove an action prior to

23   receiving proper service”).

24          9.      This action is properly removed to the United States District Court for the

25   Northern District of California, and venue is proper in this District, because the Superior Court

26   for the State of California for the County of Alameda, in which this action was originally filed, is
27   within the Northern District of California. See 28 U.S.C. §§ 84(a), 1441(a).

28                                                     -3-
                   Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 4 of 15




 1           10.      Pursuant to 28 U.S.C. § 1446(d), written notice of removal of this action will be

 2   promptly served upon Plaintiffs’ counsel, and a Notice to Adverse Party of Removal of Civil

 3   Action to Federal Court is simultaneously being filed with the Clerk of the Superior Court for the

 4   State of California for the County of Alameda. A true and correct copy of this Notice to Adverse

 5   Party is attached as Exhibit B.

 6           11.      The Court has jurisdiction under the Class Action Fairness Act of 2005, Pub L.

 7   109-2, 119 Stat. 4 (2005) (“CAFA”), codified at, inter alia, 28 U.S.C. §§ 1332(d), 1441(a), 1452,

 8   and 1453. As detailed below, this is a putative class action, comprised of more than 100

 9   members, which places in controversy more than $5 million, and there is minimal diversity

10   between the parties. See infra ¶¶ 30-47.

11                                      PLAINTIFFS’ COMPLAINT

12           12.      Plaintiffs allege that they are residents of California. (Compl. ¶¶ 6-7; Am. Compl.

13   ¶¶ 2-3.) They do not expressly allege their state(s) of citizenship, as opposed to their state of

14   residence.

15           13.      The Complaint purports to name “Neutrogena Corporation” and “Johnson &

16   Johnson Consumer Companies, Inc.” as defendants. (Compl. ¶¶ 8-9.) The Amended Complaint

17   purports to name “Neutrogena Corporation” as a defendant. (Am. Comp. ¶ 4.) However, JJCI—

18   a New Jersey corporation with its principal place of business in New Jersey—is the sole proper

19   defendant in this action. See infra ¶¶ 20-26.

20           14.      Plaintiffs’ claims relate to certain sunscreen and sun care products (the

21   “Sunscreen Products”) manufactured, distributed, and marketed by JJCI under the brand name

22   Neutrogena®. Plaintiffs explicitly name 26 different Sunscreen Products in their Complaint and

23   Amended Complaint. They also state that they “reserve their right to include” “additional

24   Sunscreen Products” in a future amended Complaint. (Compl. ¶ 10 & n.2; Am. Compl. ¶ 5 &

25   n.2.)

26           15.      Plaintiffs claim that certain lots of the Sunscreen Products have been adulterated
27   with benzene, a carcinogenic chemical; that the possible presence of benzene was not disclosed

28                                                    -4-
                   Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 5 of 15




 1   in the Sunscreen Products’ advertising or labels; and, as a result, that the Sunscreen Products

 2   were misbranded, adulterated, and/or falsely advertised. (Compl. ¶¶ 1, 14-23, 38, 57-58; Am.

 3   Compl. ¶¶ 1, 9-18, 33, 52-53.)

 4           16.      Plaintiffs contend that they and other consumers have suffered injury because

 5   they would not have purchased the Sunscreen Products had they known that there was allegedly

 6   a risk the Sunscreen Products could contain benzene. (Compl. ¶¶ 47, 54; Am. Compl. ¶¶ 43, 49.)

 7           17.      In their Complaint, Plaintiffs purport to assert claims under California’s Unfair

 8   Competition Law, Cal. Bus. & Prof. Code §17200 et seq. (Count I), and California’s False

 9   Advertising Law, Cal. Bus. & Prof. Code §17500 et seq. (Count II). In their Amended

10   Complaint, Plaintiffs assert those same claims, and purport to bring additional claims under

11   California’s Consumers Legal Remedies Act (the “CLRA”), Cal. Bus. & Prof. Code §1750, et

12   seq. (Count III), and various California common law theories (Counts IV-IX).

13           18.      Plaintiffs seek to litigate their claims on behalf of themselves and a proposed class

14   defined as “[a]ll consumers who purchased any lotion or spray Neutrogena Sunscreen Product in

15   the State of California from May 25, 2017 to the present for personal use or consumption.”

16   (Compl. ¶ 25; Am. Compl. ¶ 20.)

17           19.      Among other forms of relief, Plaintiffs seek restitution, disgorgement, actual and

18   statutory damages, injunctive relief, a corrective advertising campaign, a mandatory product

19   recall, other unspecified equitable relief, declaratory relief, attorney’s fees, costs of litigation,

20   and pre- and post-judgment interest. (Compl. Prayer for Relief; Am. Compl. Prayer for Relief.)

21                             JJCI IS THE SOLE PROPER DEFENDANT

22           20.      Plaintiffs’ Complaint purports to name as defendants both “Neutrogena
23   Corporation” and “Johnson & Johnson Consumer Companies, Inc.” (together, the “Defunct
24   Entities”). Plaintiffs’ Amended Complaint names only “Neutrogena Corporation” as a
25   defendant. But there are no entities by either of those names.
26           21.      On June 29, 2015, pursuant to a multi-step restructuring transaction, both of the
27

28                                                      -5-
                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 6 of 15




 1   Defunct Entities merged into JJCI, which was the sole surviving entity. (Declaration of Jennifer

 2   Sheehy in Support of Johnson & Johnson Consumer Inc.’s Notice of Removal, dated June 24,

 3   2021 (“Sheehy Decl.”) ¶¶ 3-9.) As a result of this merger, the Defunct Entities immediately

 4   ceased to exist. See Cal. Corp. Code § 1107(a) (noting that “[u]pon merger . . . the separate

 5   existence of the disappearing corporations ceases”); Kolker v. VNUS Med. Techs., No. CV 10–

 6   00900–JF–PVT, 2010 WL 3059220, *3 (N.D. Cal. Aug. 2, 2010) (“[A]fter the merger and

 7   complete transfer of all of its assets and liabilities to Tyco, VNUS ceased to exist as a separate

 8   legal entity and thus could not properly be joined as a party to the instant action.” (citation

 9   omitted)).

10          22.      Records accessible through the California Secretary of State’s public website

11   reflect that, as of December 2, 2015, the entity formerly known as Neutrogena Corporation had

12   surrendered its right and authority to transact business in the State of California and had revoked

13   its designation of agent for service of process in California. A true and correct copy of that

14   Certificate of Surrender of Right to Transact Intrastate Business is attached hereto as Exhibit C.

15          23.      Even though Plaintiffs do not plead this merger transaction in the Complaint or

16   Amended Complaint, the Court may consider this information for purposes of assessing its

17   subject-matter jurisdiction, because federal courts are not limited to the face of the complaint,

18   and may receive and consider summary judgment-type evidence when assessing their

19   jurisdiction. See St. Paul Fire & Marine Ins. Co. v. Universal Builders Supply, 409 F.3d 73, 80-

20   81 (2d Cir. 2005) (“It is . . . well established that when the question is subject matter jurisdiction,

21   the court is permitted to rely on information beyond the face of the complaint.”); Kelly v. Verizon

22   Pa., LLC, No. 16-5672, 2019 WL 558100, at *8 (E.D. Pa. Feb. 12, 2019) (in CAFA case, noting

23   that “the jurisdictional inquiry does not end at review of the pleadings, but also permits the

24   parties to establish or disprove jurisdictional facts through an evidentiary showing”).

25          24.      This merger transaction occurred almost two years before the start of the

26   purported class period alleged in the Complaint and Amended Complaint (i.e., May 25, 2017),
27   and well before any of the conduct or events alleged. Therefore, all of the conduct challenged in

28                                                     -6-
                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 7 of 15




 1   this case, and any liability that may exist as a result of that conduct, was committed or incurred

 2   by JJCI in the first instance, and not by the Defunct Entities.

 3          25.      Moreover, even if any of the relevant conduct or liability was committed or

 4   incurred by the Defunct Entities in the first instance, “[u]pon merger . . . the surviving

 5   corporation”—here, JJCI—automatically “succeed[s], without other transfer, to all the rights and

 6   property of each of the disappearing corporations and [is] subject to all the debts and liabilities of

 7   each in the same manner as if the surviving corporation had itself incurred them.” Cal. Corp.

 8   Code § 1107(a) (emphasis added). In other words, any liability that the Defunct Entities might

 9   have incurred before the merger now belongs solely to JJCI by operation of law.

10          26.      Consequently, the sole proper defendant in this action is JJCI. The Defunct

11   Entities have no legal existence; they cannot be sued; and they cannot be held liable to Plaintiffs

12   or to any member of the putative class under any circumstances. The Court should substitute

13   JJCI in the caption of this case and treat JJCI as the only defendant in this case for all purposes.

14
                            BASIS OF FEDERAL JURISDICTION UNDER
15                             THE CLASS ACTION FAIRNESS ACT

16          27.      This action is removable to this Court because federal diversity jurisdiction exists

17   over Plaintiffs’ claims pursuant to CAFA.

18          28.      Congress enacted CAFA to enlarge federal jurisdiction over class actions. CAFA

19   applies to any civil action commenced on or after February 18, 2005. This action was

20   commenced on May 26, 2021, well after CAFA’s effective date.

21          29.      CAFA provides that a putative class action against a non-governmental entity

22   may be removed to federal court if: (a) the number of proposed class members is not less than

23   100; (b) any member of the proposed class is a citizen of a state different from any defendant;

24   and (c) the aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.

25   See 28 U.S.C. §§ 1332(d)(2), 1332(d)(5) & 1453(b). As set forth below, each of these

26   requirements is satisfied.

27

28                                                    -7-
                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 8 of 15




 1          A.         There Are More Than 100 Putative Class Members

 2          30.        CAFA’s first requirement, that the proposed class contain at least 100 members, is

 3   satisfied. See 28 U.S.C. § 1332(d)(5).

 4          31.        Plaintiffs’ proposed class is defined as “[a]ll consumers who purchased any lotion

 5   or spray Neutrogena Sunscreen Product in the State of California from May 25, 2017 to the

 6   present for personal use or consumption.” (Compl. ¶ 25; Am. Compl. ¶ 20.)

 7          32.        Plaintiffs acknowledge that the members of the class are “numerous” and state

 8   that they believe the proposed class contains “thousands of purchasers.” (Compl. ¶ 26; Am.

 9   Compl. ¶ 21.)

10          33.        Moreover, as discussed below, retail sales of the Sunscreen Products in California

11   during the class period exceed $108 million. Common sense dictates that the average putative

12   class member spent far less than $1.08 million on sunscreen and sun care products during the

13   class period. It is therefore reasonable to assume that there are far more than 100 members in the

14   putative class.

15          B.         Minimal Diversity Exists Between The Parties

16          34.        CAFA’s second requirement, that any one member of the proposed class be a

17   citizen of a state different from any defendant, is also satisfied. See 28 U.S.C. § 1332(d)(2).

18          35.        Plaintiffs purport to represent a class of “[a]ll consumers who purchased

19   [Sunscreen Products] in the State of California from May 25, 2017 to the present . . . .” (Compl.

20   ¶ 25; Am. Compl. ¶ 20.) As such, it is reasonable to assume that at least one member of the

21   putative class is a citizen of California. See Flores v. Chevron Corp., No. 11-cv-2551-JHN-

22   FMOx, 2011 WL 2160420, at *3 (C.D. Cal. May 31, 2011) (finding it reasonable to conclude

23   “that if a [class action] complaint asserts that the case is brought on behalf of California

24   purchasers,” numerous class members are “California citizens”).

25          36.        On the defendants’ side, only the citizenship of JJCI—and not the former

26   citizenship of the Defunct Entities—is relevant to the diversity-of-citizenship analysis. See
27   Meadows v. Bicrodyne Corp., 785 F.2d 670, 672 (9th Cir. 1986) (noting that the citizenship of a

28                                                     -8-
                  Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 9 of 15




 1   company that ceases to exist as a result of a merger is irrelevant to diversity jurisdiction, and that

 2   the citizenship of the surviving company controls); accord Kelly, 2019 WL 558100, at *4

 3   (“Under well-settled law, when two or more corporations merge, ‘the citizenship of the surviving

 4   entity is controlling [in the jurisdictional analysis]; the citizenship of the predecessor company

 5   becomes irrelevant.’” (quoting 13F Charles A. Wright et al., Federal Practice and Procedure §

 6   3623 (3d ed. 2009))).

 7          37.      At the time this lawsuit was filed, and at all other times relevant to this lawsuit,

 8   JJCI—the sole proper defendant—was and has been a New Jersey corporation with its principal

 9   place of business in New Jersey. (See Sheehy Decl. ¶¶ 9-10.) Thus, JJCI is a citizen of New

10   Jersey. See 28 U.S.C. § 1332(c)(1).

11          38.      Diversity of citizenship therefore exists between at least one proposed class

12   member and JJCI, satisfying 28 U.S.C. § 1332(d)(2).

13          C.       The Amount In Controversy Exceeds $5 Million

14          39.      CAFA’s final requirement—that the amount in controversy, exclusive of interest

15   and costs, exceed $5 million—is also satisfied. See 28 U.S.C. § 1332(d)(2).

16          40.      Although JJCI disputes the allegations in the Complaint and Amended Complaint

17   and denies all liability and damages, Plaintiffs’ allegations and prayer for relief, irrespective of

18   their merits, place in controversy an amount greater than $5 million.

19          41.      Where, as here, the complaint does not set forth a specific sum of damages

20   sought, a defendant need only make a “plausible allegation” that the amount in controversy

21   exceeds $5 million. Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).

22   The defendant need not make “evidentiary submissions” to establish the amount in controversy,

23   but a district court may consider “summary judgment-type evidence” if the defendant elects to

24   offer it. Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015).

25          42.      Here, Plaintiffs purport to represent a class defined as “[a]ll consumers who

26   purchased any lotion or spray Neutrogena Sunscreen Product in the State of California from May
27   25, 2017 to the present for personal use or consumption.” (Compl. ¶ 25; Am. Compl. ¶ 20.) On

28                                                     -9-
               Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 10 of 15




 1   behalf of this putative class, Plaintiffs seek, inter alia, “restitution” of “all monies spent on the

 2   Sunscreen Products” during the stated class period. (Compl. ¶¶ 54, 61, Prayer for Relief F-G;

 3   Am. Compl. ¶¶ 49, 56, Prayer for Relief F-G.)

 4           43.     From May 25, 2017 (i.e., the start of the class period) through May 29, 2021, the

 5   total retail sales of the 26 Sunscreen Products named in the Complaint and Amended Complaint

 6   within the state of California exceeded $108 million. (See Declaration of Matthew Plugues in

 7   Support of Johnson & Johnson Consumer Inc.’s Notice of Removal, dated June 23, 2021 ¶ 7.)

 8   CAFA’s $5 million amount-in-controversy requirement, therefore, is satisfied more than 21

 9   times over on the basis of Plaintiffs’ restitution demand alone, without considering any of their

10   other requested relief.

11           44.     Plaintiffs also seek injunctive relief, including a prohibition of certain advertising,

12   a corrective advertising campaign, and a mandatory product recall. (Compl. ¶¶ 53, 61, Prayer for

13   Relief B-E; Am. Compl. ¶¶ 53, 56, Prayer for Relief B-E.) It is common sense that complying

14   with these demands would impose millions of dollars of costs on, and cause substantial lost

15   profits to, JJCI. These sums are also included in the amount in controversy, driving it even

16   further above $5 million. See Tuong Hoang v. Supervalu Inc., 541 F. App’x 747, 747-48 (9th

17   Cir. 2013); see also Int’l Padi, Inc. v. Diverlink, No. 03-56478, 2005 U.S. App. LEXIS 14234, at

18   *3-4 (9th Cir. July 13, 2005) (“[I]n determining the amount in controversy, we may also include

19   the value of the requested injunctive relief to either party.”).

20           45.     Plaintiffs also seek payment of attorney’s fees (Compl. Prayer for Relief I; Am.

21   Compl. Prayer for Relief I), which further increases the amount in controversy above $5 million.

22   See Schneider v. Ford Motor Co., 756 F. App’x 699, 701 n.4 (9th Cir. 2018) (“The possibility

23   that the putative class members could receive an award of attorneys’ fees buttresses our

24   conclusion that the amount in controversy exceeds $5 million.”); Greene v. Harley-Davidson,

25   Inc., 965 F.3d 767, 774 n.4 (9th Cir. 2020) (in putative class action removed under CAFA,

26   finding it “reasonable to assume that [the named plaintiff’s] attorney would seek fees equal to 25
27   percent of the amount in controversy if he were to prevail”).

28                                                    -10-
                 Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 11 of 15




 1          46.     Plaintiffs, in their Amended Complaint, purport to add causes of action that sound

 2   in strict product liability (Counts VIII-IX). These causes of action appear to seek compensation

 3   for alleged personal injuries. (See, e.g., Am. Compl. ¶ 91 (“Plaintiffs and the Class were injured

 4   by the use of the Sunscreen Products . . . because benzene is a known carcinogen that is absorbed

 5   through the skin.”); id. ¶ 97 (“Plaintiffs and the Class suffered injuries from exposure to

 6   benzene.”).) Plaintiffs’ apparent attempt to seek personal injury damages on behalf of

 7   themselves and a statewide class of consumers, in addition to the economic damages already

 8   discussed, further confirms that the total amount in controversy exceeds $5 million.

 9          47.     Accordingly, JJCI has plausibly alleged that the amount in controversy, exclusive

10   of interest and costs, far exceeds CAFA’s $5 million jurisdictional threshold.

11          D.      None of CAFA’s Jurisdictional Exceptions Applies Here

12          48.     To effect removal, JJCI’s only burden is to plausibly allege that CAFA’s three

13   jurisdictional requirements are met. JJCI does not have the burden to allege or prove the

14   inapplicability of CAFA’s jurisdictional exceptions found in 28 U.S.C. § 1332(d)(3) and (d)(4).

15   The burden of asserting and proving the applicability of those exceptions lies squarely with

16   Plaintiffs. See Mondragon v. Cap. One Auto Fin., 736 F.3d 880, 883 (9th Cir. 2013); Serrano v.

17   180 Connect, Inc., 478 F.3d 1018, 1024 (9th Cir. 2007).

18          49.     For the avoidance of doubt, however, none of CAFA’s jurisdictional exceptions

19   could apply in this case.

20          50.     28 U.S.C. § 1332(d)(4)(A)—the so-called “local controversy” exception—

21   requires a district court to decline jurisdiction over a removed class action under certain

22   circumstances. However, there are at least three reasons why the exception does not apply here.

23          51.     First, for the “local controversy” exception to apply, there must be a defendant

24   “who is a citizen of the State in which the action was originally filed”; that in-state defendant

25   must be one “whose alleged conduct forms a significant basis for the claims asserted by the

26   proposed plaintiff class”; and that in-state defendant must be one “from whom significant relief
27   is sought by members of the plaintiff class.” Id.

28                                                   -11-
               Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 12 of 15




 1          52.      These requirements are not met here. As discussed above, the sole proper

 2   defendant, JJCI, is a citizen of New Jersey and no other state. And although Neutrogena

 3   Corporation was formerly a citizen of California, that non-existent entity is not a proper

 4   defendant at all—let alone a defendant “whose alleged conduct forms a significant basis for the

 5   claims asserted” and “from whom significant relief is sought.” Cf. Taylor v. FedEx Freight, Inc.,

 6   No. 10-cv-2118-LH, 2010 WL 4316136, at *2 (N.D. Cal. Oct. 26, 2010) (finding “local

 7   controversy” exception inapplicable, even though “the actions of [a former] California entity . . .

 8   [were allegedly] at issue,” because that entity had merged into a non-California entity and no

 9   longer existed). Indeed, as noted above, Neutrogena Corporation ceased to exist almost two

10   years before the start of the alleged class period, so none of the conduct that “forms” any “basis

11   for the claims” asserted herein was ever attributable to Neutrogena Corporation.

12          53.     There is another reason why the “local controversy” exception does not apply

13   here. That exception is inapplicable if, “during the 3-year period preceding the filing of [the

14   removed] class action,” any “other class action has been filed asserting the same or similar

15   factual allegations against any of the defendants on behalf of the same or other persons.” Id. §

16   1332(d)(4)(A)(ii).

17          54.     Here, the same law firm that filed this action filed another, substantially identical

18   putative class action the preceding day against the same putative defendants. See Complaint,

19   Meredith Serota, Individually and on Behalf of All Others Similarly Situated v. Neutrogena

20   Corporation and Johnson & Johnson Consumer Companies, Inc., No. 0:21-cv-61103-AHS (S.D.

21   Fla. filed May 25, 2021). A true and correct copy of the Serota complaint is attached hereto as

22   Exhibit D.

23          55.     Whereas the Complaint and Amended Complaint in this case purport to bring

24   claims on behalf of a class of California consumers, the Serota complaint purports to assert

25   nearly identical claims on behalf of a class of consumers from all U.S. states and territories

26   “excluding California.” Id. ¶ 23 (emphasis added). In other words, Plaintiffs’ counsel has
27   attempted to gerrymander a single nationwide controversy into two separate class actions in an

28                                                   -12-
               Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 13 of 15




 1   attempt to keep their California claims in state court. Preventing such strategic pleading was one

 2   of CAFA’s explicit goals. See Kendrick v. Conduent State & Loc. Sols., Inc., 910 F.3d 1255,

 3   1260–61 (9th Cir. 2018) (noting that “the reason for the no prior class action prerequisite to

 4   remand is to ensure that controversies given rise to multiple class actions be heard in federal

 5   court in one proceeding”).

 6          56.     There is yet another reason why the “local controversy” exception does not apply

 7   here. Namely, that exception applies only where the “principal injuries resulting from the

 8   alleged conduct or any related conduct of each defendant were incurred in the State in which the

 9   action was originally filed.” 28 U.S.C. § 1332(d)(4)(A)(i)(III).

10          57.     Here, the Sunscreen Products at issue were advertised and sold on a nationwide

11   basis—not merely in California. Therefore, to the extent the advertising and sale of the

12   Sunscreen Products caused any injury (which JJCI denies), that injury was distributed across the

13   nation and did not occur “principal[ly]” in California. See Phillips v. Kaiser Found. Health

14   Plan, Inc., 953 F. Supp. 2d 1078, 1086–87 (N.D. Cal. 2011) (“If the defendants engaged in

15   conduct that could be alleged to have injured consumers throughout the country or broadly

16   throughout several states, the case would not qualify for [the ‘local controversy’] exception, even

17   if it were brought only as a single-state class action. In other words, this provision looks at

18   where the principal injuries were suffered by everyone who was affected by the alleged

19   conduct—not just where the proposed class members [selected by the plaintiff] were injured.”).

20          58.     28 U.S.C. § 1332(d)(4)(B)—the so-called “home state” exception—requires a

21   district court to decline jurisdiction over a removed class action under certain circumstances.

22   One of the necessary prerequisites for this exception is that each of “the primary defendants”

23   must be “citizens of the State in which the action was originally filed.” Id.

24          59.     This requirement is not met here. As discussed above, the sole proper defendant,

25   JJCI, is a citizen of New Jersey and no other state. JJCI is not a “citizen[] of the State in which

26   the action was originally filed,” i.e., California. And although one of the Defunct Entities (and
27   the sole defendant in the Amended Complaint), Neutrogena Corporation, was a citizen of

28                                                   -13-
               Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 14 of 15




 1   California during its lifetime, that non-existent entity, which cannot be sued and which has no

 2   liability to putative class members as a matter of law, is not a proper defendant at all—let alone a

 3   “primary defendant.” See Singh v. Am. Honda Fin. Corp., 925 F.3d 1053, 1068 (9th Cir. 2019)

 4   (discussing criteria for determining whether a defendant is a “primary” defendant).

 5          60.     Lastly, 28 U.S.C. § 1332(d)(3)—the so-called “interests of justice” exception—

 6   permits a court to decline jurisdiction over a removed class action “in the interests of justice,” in

 7   its discretion, under certain circumstances.

 8          61.     One necessary prerequisite for this exception is that all of “the primary

 9   defendants” must be “citizens of the State in which the action was originally filed.” Id. As

10   explained above, this mandatory prerequisite is not met here, because JJCI—the sole proper

11   defendant—is not a citizen of California.

12          62.     Even if this mandatory prerequisite were met, the six discretionary factors

13   relevant to the “interests of justice” exception also militate in favor of retaining jurisdiction. For

14   example, because the Sunscreen Products were advertised and sold nationwide, and are presently

15   the subject of Citizen Petition before the United States Food and Drug Administration, an organ

16   of the federal government (Compl. ¶ 12; Am. Compl. ¶ 7), the underlying controversy is a

17   “matter of national or interstate interest,” 28 U.S.C. § 1332(d)(3)(A), and is not “local” to

18   California. See, e.g., Melissa D. Duflock Revocable Tr. v. Chevron Corp., No. 13-cv-3177 SJO

19   (SHx), 2013 WL 4236397, at *3-7 (C.D. Cal. Aug. 14, 2013) (citing Rep. 109–14, 36, 2005

20   U.S.C.C.A.N. 3, 35); Phillips v. Kaiser Found. Health Plan, Inc., 953 F. Supp. 2d 1078, 1086

21   (N.D. Cal. 2011).

22          63.     Additionally, the existence of the related Florida class action “strongly favor[s]

23   the [retention] of federal jurisdiction” under the “interests of justice” exception so that “the

24   claims of all proposed classes [can] be handled efficiently on a coordinated basis” by the federal

25   courts. S. Rep. 109–14, at 38; see 28 U.S.C. § 1332(d)(3)(F).

26          64.     Likewise, the attempt of Plaintiffs’ counsel to gerrymander its claims into two
27   nearly identical actions “in a manner that seeks to avoid Federal jurisdiction” weighs heavily

28                                                    -14-
                Case 3:21-cv-04869-JD Document 1 Filed 06/24/21 Page 15 of 15




 1   against remand under the “interests of justice” exception. Id. § 1332(d)(3)(C).

 2          65.      In sum, although JJCI does not bear the burden of establishing that CAFA’s

 3   jurisdictional exceptions are inapplicable, JJCI has nonetheless shown their inapplicability.

 4                                            CONCLUSION

 5          66.      For the foregoing reasons, this action is properly removed to this Court.

 6          67.      JJCI reserves the right to amend or supplement this Notice of Removal, and

 7   reserves all rights and defenses, including those available under the Federal Rule of Civil

 8   Procedure 12.

 9          WHEREFORE, JJCI, the sole proper defendant in this action, respectfully removes this

10   action from the Superior Court for the State of California for the County of Alameda to the

11   United States District Court for the Northern District of California, pursuant to 28 U.S.C. §§

12   1332, 1441, 1446, and 1453. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal

13   is being contemporaneously filed with the Superior Court of the State of California, County of

14   Alameda and served upon Plaintiffs’ counsel.

15

16          DATED: June 24, 2021           PATTERSON BELKNAP WEBB & TYLER LLP

17                                         LAFAYETTE & KUMAGAI LLP

18

19
                                           By:     /s/ Gary T. Lafayette (CA Bar No. 88666)
20

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22                                         Attorneys for Johnson & Johnson Consumer Inc.
23

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Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 1 of 71




           EXHIBIT A
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 2 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 3 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 4 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 5 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 6 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 7 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 8 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 9 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 10 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 11 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 12 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 13 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 14 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 15 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 16 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 17 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 18 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 19 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 20 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 21 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 22 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 23 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 24 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 25 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 26 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 27 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 28 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 29 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 30 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 31 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 32 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 33 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 34 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 35 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 36 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 37 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 38 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 39 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 40 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 41 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 42 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 43 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 44 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 45 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 46 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 47 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 48 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 49 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 50 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 51 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 52 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 53 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 54 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 55 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 56 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 57 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 58 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 59 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 60 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 61 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 62 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 63 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 64 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 65 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 66 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 67 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 68 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 69 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 70 of 71
Case 3:21-cv-04869-JD Document 1-1 Filed 06/24/21 Page 71 of 71
Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 1 of 4




          EXHIBIT B
               Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 2 of 4




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16   Attorneys for Johnson & Johnson Consumer Inc.

17
                                 SUPERIOR COURT OF CALIFORNIA
18
                                        COUNTY OF ALAMEDA
19

20
     KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
21   individually and on behalf of all others similarly
     situated,                                                  NOTICE TO ADVERSE PARTY
22                                 Plaintiffs,                  OF REMOVAL OF CIVIL
                                                                ACTION TO FEDERAL COURT
23          vs.
                                                                Removed from the Superior Court of
24   NEUTROGENA CORPORATION and JOHNSON                         California, Alameda County, Case No.
25   & JOHNSON CONSUMER COMPANIES, INC.;                        RG21101025
                         Defendants.
26                                                              State Court action filed: May 26, 2021

27

28
               Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 3 of 4




 1

 2          TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT a Notice of Removal of Civil Action was filed in the

 4   United States District Court for the Northern District of California on June 24, 2021.

 5          A copy of the Notice of Removal and Declarations of Jennifer Sheehy and Matthew

 6   Plugues in support thereof is attached to this Notice and is served and filed herewith.

 7

 8          DATED: June 24, 2021           PATTERSON BELKNAP WEBB & TYLER LLP

 9                                         LAFAYETTE & KUMAGAI LLP
10                                         By:
11                                         GARY T. LAFAYETTE
12                                         Attorneys for Johnson & Johnson Consumer Inc.
13

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                                                                                                                  Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 4 of 4


                                                                                                            1                                        PROOF OF SERVICE
                                                                                                            2          I am employed in the City and County of Oakland, California. I am over the age of
                                                                                                                eighteen years and not a party to the within action. My business address is 1300 Clay Street,
                                                                                                            3   Suite 810, Oakland, California 94612.
                                                                                                            4          On June 24, 2021, I served the document named below on the parties in this action as
                                                                                                                follows:
                                                                                                            5
                                                                                                                           NOTICE TO ADVERSE PARTY OF REMOVAL OF CIVIL ACTION TO
                                                                                                            6              FEDERAL COURT
                                                                                                            7    XX     (BY MAIL): I caused each and such envelope with postage thereon fully prepaid, to be
                                                                                                                        placed in the United State mail at Oakland, California. I am readily familiar with the
                                                                                                            8           practice for the collection and processing of correspondence for mailing, said practice
                                                                                                                        being that in the ordinary course of business, mail is deposited in the United States
                                                                                                            9           Postal Service the same day as it is placed for collection.
                                                                                                           10           (BY FILE & SERVEXPRESS): I served the document(s) named above on the
                                                                                                                        party(ies) in this action, by uploading true and correct copy(ies) of the document(s) to
                                                                                                           11           File & ServeXpress to be filed and served electronically to the Court and counsel of
                                                                                                                        record through their File & ServeXpress inboxes.
LAFAYETTE & KUMAGAI LLP




                                                                                                           12           (BY PERSONAL SERVICE): I caused to be personally served each document listed
                                               810




                                                                                                                        above on the addressee(s) noted below.
                                             94612




                                                                                                           13
                                                                                          (415) 357-4605




                                                                                                                        (BY FACSIMILE): I caused to be sent via facsimile at the facsimile number listed
                                             CLAY STREET, SUITE
                          ATTORNEYS AT LAW



                                                                                        (415) 357-4600




                                                                                                                        below, a copy of each document to the addressee(s) noted below.
                                                                  OAKLAND, CALIFORNIA




                                                                                                           14
                                                                                                                        (BY OVERNIGHT MAIL): I caused to be delivered to an overnight courier service
                                                                                                           15           each document to the addressee(s) noted below.
                                                                                                                        (BY ELECTRONIC MAIL): I caused a copy of the document(s) to be sent from e-mail
                                                                                                           16           address kmikkelsen@lkclaw.com to the persons at the email addresses listed below.
                                                                                                 FAX
                                             1300




                                                                                                           17           ALYSTOCK, WITKIN, KREIS &                 BRADLEY/GROMBACHER, LLP
                                                                                                                        OVERHOLTZ, PLLC                           Marcus J. Bradley, Esq.
                                                                                                           18           Sin-Ting Mary Liu                         Kiley L. Grombacher, Esq.
                                                                                                                        17 East Main Street, Suite 200            Robert N. Fisher, Esq.
                                                                                                           19           Pensacola, FL 32502                       31365 Oak Crest Drive, Suite 240
                                                                                                                                                                  Westlake Village, CA 91361
                                                                                                           20

                                                                                                           21
                                                                                                                       I declare under penalty of perjury under the laws of the State of California that the
                                                                                                           22   foregoing is true and correct. Executed on June 24, 2021at Oakland, California, California.
                                                                                                           23

                                                                                                           24
                                                                                                                                                             Kirsten Mikkelsen
                                                                                                           25

                                                                                                           26
                                                                                                           27

                                                                                                           28
                                                                                                                                                                 1
                                                                                                                                                        PROOF OF SERVICE
                                                                                                                                                       (Case No. RG21101025)
Case 3:21-cv-04869-JD Document 1-3 Filed 06/24/21 Page 1 of 2




          EXHIBIT C
Case 3:21-cv-04869-JD Document 1-3 Filed 06/24/21 Page 2 of 2
Case 3:21-cv-04869-JD Document 1-4 Filed 06/24/21 Page 1 of 25




           EXHIBIT D
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 2 of 25
                                                                          Page 1 of 24




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    FT. LAUDERDALE DIVISION

                                Case No. ______________________


   MEREDITH SEROTA, Individually and on
   Behalf of All Others Similarly Situated,

                  Plaintiff,

   vs.

   NEUTROGENA CORPORATION and
   JOHNSON & JOHNSON CONSUMER
   COMPANIES, INC.;

                  Defendants.


                                  CLASS ACTION COMPLAINT

         Plaintiff, Meredith Serota (“Plaintiff”), individually and on behalf of all others similarly

  situated throughout the State of California, files this Class Action Complaint (“CAC”) against

  Defendants Neutrogena Corporation (“Neutrogena Corp.”) and Johnson & Johnson Consumer

  Companies, Inc. (“Johnson & Johnson”) (collectively, “Defendants”), and in support states the

  following:

                                   NATIURE OF THE ACTION

         1.      This is a class action lawsuit by Plaintiff, and others similarly situated, who

  purchased Neutrogena Sunscreen Products manufactured, sold and distributed by Defendants.

  Defendants distribute, market and sell several over-the-counter Sunscreen Products under their

  brand name “Neutrogena.” Several of Defendants’ Neutrogena sunscreen products (identified

  below) have been independently tested and shown to be adulterated with benzene, a known

  human carcinogen. The presence of benzene in Defendants’ Neutrogena Sunscreen Products was
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 3 of 25
                                                                          Page 2 of 24




  not disclosed in the products’ label, in violation of state and federal law. Plaintiff and the

  putative class suffered economic damages due to Defendants’ misconduct (as set forth below)

  and they seek injunctive relief and restitution for the full purchase price of the sunscreen

  product(s) they purchased. Plaintiff alleges the following based upon personal knowledge as well

  as investigation by counsel, and as to all other matters, upon information and belief. Plaintiff

  further believes that substantial evidentiary support will exist for the allegations set forth herein

  after a reasonable opportunity for discovery.

                                   JURISDICTION AND VENUE

         2.      This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The matter

  in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000 and is a

  class action in which there are in excess of 100 class members and Plaintiff is a citizen of a state

  different from Defendants.

         3.      This Court has jurisdiction over each Defendant because Defendants are

  authorized to conduct and do business in Florida. Defendants have marketed, promoted,

  distributed, and sold Neutrogena sunscreen protection products, including the Sunscreen

  Products identified below, in Florida and Defendants have sufficient minimum contacts with this

  State and/or sufficiently avail themselves of the markets in this State through promotion, sales,

  distribution and marketing within this State to render the exercise of jurisdiction by this Court

  permissible.

          4.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b) because a

  substantial part of the events or omissions giving rise to Plaintiff’s claims occurred while she

  resided in this judicial district. Venue is also proper under 18 U.S.C. §1965(a) because

  Defendants transact substantial business in this District.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 4 of 25
                                                                          Page 3 of 24




                                             THE PARTIES

         5.         Plaintiff Meredith Serota (“Serota”) resides in Palm Beach County, Florida, and at

  all times relevant hereto has been, a resident of the County of Palm Beach. In or around March

  20, 2020, Serota purchased Neutrogena Ultra Sheer® Weightless Sunscreen Spray SPF 100+

  (Qty 2) and Neutrogena Ultra Sheer Face Mist SPF 55 (Qty 4) from Target, located at 3599 W.

  Hillsboro Blvd. Deerfield Beach, Florida 33442, in Broward County. She paid approximately

  $8.99 each for the Neutrogena Ultra Sheer® Weightless Sunscreen Spray SPF 100+ and $12.99

  each for the Neutrogena Ultra Sheer Face Mist SPF 55. During that time, based on the false and

  misleading claims by Defendants, Serota was unaware that Defendants’ Sunscreen Products may

  be adulterated with benzene. Serota purchased the Defendants’ Sunscreen Products on the

  assumption that the labeling of Defendants’ Sunscreen Products was accurate and that the

  products were unadulterated, safe and effective. Serota would not have purchased Defendants’

  Sunscreen Products had she known there was a risk the products may contain benzene, a known

  human carcinogen. As a result, Plaintiff suffered injury in fact when she spent money to

  purchase products she would not otherwise have purchased absent Defendants’ misconduct, as

  alleged herein.

         6.         Defendant Neutrogena Corp. is a Delaware corporation with its headquarters at

   5760 W 96th Street, Los Angeles, California 90045. Neutrogena Corp. is authorized to do

   business in Florida. Neutrogena Corp. is a subsidiary of the Johnson & Johnson conglomerate.

   As one of the world’s leading brands of skin care hair care and cosmetics, Neutrogena Corp.

   distributes its products, including Neutrogena sunscreen products, throughout the United States.

   Neutrogena Corp’s line of Sunscreen Products, including the adulterated sunscreen purchased
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 5 of 25
                                                                          Page 4 of 24




   by Plaintiff and members of the putative class, are available at retail stores throughout Florida

   and the United States.

          7.     Defendant Johnson & Johnson Consumer Companies, Inc. (“Johnson &

   Johnson”) is a New Jersey corporation with its headquarters and principal place of business at

   Grandview Road, Skillman, New Jersey, 08558. Johnson & Johnson, the manufacturer and/or

   distributor of the adulterated sunscreens, is the parent company of Neutrogena Corp.

                                          INTRODUCTION

          8.     Defendants manufacture, market, advertise, label, distribute, and sell a variety of

  Neutrogena sunscreen spray/aerosol products and lotions, including:

     1    Neutrogena         Lotion         Age Shield Face Sunscreen Lotion SPF 110

     2    Neutrogena         Lotion         Age Shield Face Sunscreen Lotion, SPF 70

     3    Neutrogena         Spray          Beach Defense Oil-Free Body Sunscreen Spray - SPF 100

     4    Neutrogena         Lotion         Beach Defense Water Plus Sun Protection Sunscreen
                                            Broad Spectrum Lotion SPF 70
     5    Neutrogena         Spray          Cooldry Sport Water-Resistant Sunscreen Spray SPF 50

     6    Neutrogena         Spray          Cooldry Sport Water-Resistant Sunscreen Spray SPF 70

     7    Neutrogena         Lotion         Healthy Defense Daily Moisturizer with Sunscreen SPF
                                            50
     8    Neutrogena         Lotion         Hydro Boost Water Gel Lotion Sunscreen SPF 50

     9    Neutrogena         Spray          Kids Water-Resistant Sunscreen Spray Oil-Free SPF 70

     10   Neutrogena         Lotion         Oil-free Facial Moisturizer with Sunscreen SPF 15

     11   Neutrogena         Lotion         Pure & Free Baby Sunscreen Lotion - SPF 50

     12   Neutrogena         Lotion         Sensitive Skin Sunscreen Lotion With SPF 60+

     13   Neutrogena         Lotion         Sheer Zinc Dry-Touch Face Sunscreen SPF 50

     14   Neutrogena         Spray          Ultra Sheer Body Mist Sunscreen Broad Spectrum SPF 30
                                            Spray
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 6 of 25
                                                                          Page 5 of 24




      15   Neutrogena        Spray          Ultra Sheer Body Mist Sunscreen Broad Spectrum SPF 45

      16   Neutrogena        Lotion         Ultra Sheer Dry-Touch Sunscreen Lotion Broad Spectrum
                                            SPF 55
      17   Neutrogena        Lotion         Ultra Sheer Dry-Touch Sunscreen Lotion SPF 30

      18   Neutrogena        Lotion         Ultra Sheer Dry-Touch Sunscreen Lotion SPF 45

      19   Neutrogena        Lotion         Ultra Sheer Dry-Touch Water Resistant Sunscreen SPF 70

      20   Neutrogena        Spray          Ultra Sheer Face Mist Sunscreen SPF 55

      21   Neutrogena        Spray          Ultra Sheer Face Mist Sunscreen Spray - SPF 55

      22   Neutrogena        Lotion         Ultra Sheer Liquid Sunscreen Lotion, Broad Spectrum
                                            SPF 70
      23   Neutrogena        Lotion         Ultra Sheer Sunscreen Lotion SPF 100+

      24   Neutrogena        Spray          Ultra Sheer Weightless Sunscreen Spray, SPF 100+

      25   Neutrogena        Spray          Ultra Sheer Weightless Sunscreen Spray, SPF 70

      26   Neutrogena        Spray          Wet Skin Swim Humidity Sweat Sunscreen Broad
                                            Spectrum SPF 30 (hereafter collectively referred to as
                                            “Sunscreen Products”). 1


           9.    In 2020, Valisure LLC and ValisureRX LLC (“Valisure”), an analytical

  pharmacy, ran tests on a variety of Defendants’ Sunscreen Products. Specifically, Valisure tested

  numerous lots of Defendants’ spray and lotion Sunscreen Products. Through its testing, Valisure

  discovered that certain of the Sunscreen Products contain benzene, with values ranging from less

  than 0.1 parts per million (“ppm”), 0.10 ppm to 2 ppm, and more than 2 ppm. For reference, the

  National Institute for Occupational Safety and Health (“NIOSH”) recommends protective

  equipment be worn by workers expecting to be exposed to benzene at concentrations of 0.1 ppm



  1
   Discovery may reveal additional Sunscreen Products manufactured, sold, and distributed by
  Defendants that are affected by this action and Plaintiffs reserve their right to include any such
  products in this action.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 7 of 25
                                                                          Page 6 of 24




  and defines “skin absorption” as an exposure route. 2 Notably, benzene is not listed as an active

  or inactive ingredient on any of the labels of Neutrogena’s Sunscreen Products. Moreover, all of

  the Sunscreen Products are marketed and advertised in an identical manner — as “Sunscreen.”

         10.     On May 25, 2021, Valisure filed a citizen petition with the Food and Drug

  Administration (“FDA”) asking the agency to recall all batches of Defendants’ sunscreen

  products tested that (as tested) contained 0.1 ppm or more of benzene, on the basis that they are

  adulterated under Section 501 of the FDCA (21 U.S.C. § 351) and misbranded under Section 502

  of the FDCA (21 U.S.C. § 352). As of this filing, the FDA has not responded to Valisure’s

  citizen petition and Defendants have not taken any action to remove the Sunscreen Products from

  the market.

         11.     Benzene is used primarily as a solvent in the chemical and pharmaceutical

  industries, as a starting material and intermediate in the synthesis of numerous chemicals, and in

  gasoline. The major United States source of benzene is petroleum. The health hazards of benzene

  have been recognized for over one hundred years. According to the National Toxicology

  Program (“NTP”), benzene is “known to be a human carcinogen based on sufficient evidence of

  carcinogenicity from studies in humans.” 3 Benzene has also been “found to be carcinogenic to

  humans” by the International Agency for Research on Cancer (“IARC”). Benzene was “[f]irst

  evaluated by IARC in 1974 . . . and was found to be carcinogenic to humans (Group 1), a finding

  that has stood since that time.” 4 As noted by the IARC:

                 In the current evaluation, the Working Group again confirmed the
                 carcinogenicity of benzene based on sufficient evidence of


  2
    Centers for Disease Control and Prevention. The National Institute for Occupational Safety and
  Health (NIOSH), Benzene (https://www.cdc.gov/niosh/npg/npgd0049.html).
  3
    http://ntp.niehs.nih.gov/go/roc/content/profiles/benzene.pdf (emphasis added).
  4
    Benzene / IARC Working Group on the Evaluation of Carcinogenic Risks to Humans (2017:
  Lyon, France), at p. 33.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 8 of 25
                                                                          Page 7 of 24




                 carcinogenicity in humans, sufficient evidence of carcinogenicity in
                 experimental animals, and strong mechanistic evidence. … The
                 Working Group affirmed the strong evidence that benzene is
                 genotoxic, and found that it also exhibits many other key
                 characteristics of carcinogens, including in exposed humans. In
                 particular, benzene is metabolically activated to electrophilic
                 metabolites; induces oxidative stress and associated oxidative
                 damage to DNA; is genotoxic; alters DNA repair or causes genomic
                 instability; is immunosuppressive; alters cell proliferation, cell
                 death, or nutrient supply; and modulates receptor-mediated effects. 5

         Likewise, the Food and Drug Administration (“FDA”) recognizes that “[b]enzene is a

  carcinogen that can cause cancer in humans” 6and classifies benzene as a “Class 1” solvent that

  should be “avoided.” 7 FDA’s Guidance for Industry states that “Solvents in Class 1 . . . should

  not be employed in the manufacture of drug substances, excipients, and drug products because of

  their unacceptable toxicities or deleterious environmental effect.” 8

         12.     The FDA regulates sunscreens to ensure they meet safety and effectiveness

  standards. 9 The FDA regulates sunscreens, including the Sunscreen Products at issue here, as

  over-the-counter (“OTC”) drugs rather than as cosmetics. As an FDA-regulated product,

  sunscreens must pass certain tests before they are sold. As noted on FDA’s website,

                 Every drug has active ingredients and inactive ingredients. In the
                 case of sunscreen, active ingredients are the ones that are protecting
                 your skin from the sun’s harmful UV rays. Inactive ingredients are
                 all other ingredients that are not active ingredients, such as water or
                 oil that may be used in formulating sunscreens. 10




  5
    Id. at 34.
  6
    https://www.fda.gov/food/chemicals/questions-and-answers-occurrence-benzene-soft-drinks-
  and-other-beverages#q1.
  7
    https://www.fda.gov/media/71737/download.
  8
    FDA Guidance for Industry, Q3C Impurities: Residual Solvents (6/30/2017), available at
  https://www.fda.gov/media/71736/download.
  9
    See generally 21 CFR §§352.1– 352.77.
  10
     https://www.fda.gov/drugs/understanding-over-counter-medicines/sunscreen-how-help-
  protect-your-skin-sun.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 9 of 25
                                                                          Page 8 of 24




          Per the FDA regulations governing Defendants’ Sunscreen Products, titled “Sunscreen

  Drug Products for Over-the-Counter Human Use,” 11 there are certain acceptable active

  ingredients in products that are labeled as sunscreen. 12 Benzene, a known human carcinogen, is

  not on the FDA’s list of acceptable active or inactive ingredients for Sunscreen Products. Nor is

  benzene identified as an active or inactive ingredient on any of the Neutragena Sunscreen

  Products. Nevertheless, Defendants proclaim in their advertising that “Neutrogena maintains that

  the sunscreen ingredients we use are safe and effective . . .”, which is a false and misleading

  statement.

          13.     The governing regulations provide: “An over-the-counter sunscreen drug product

  in a form suitable for topical administration is generally recognized as safe and effective and is

  not misbranded if it meets each condition in this part and each general condition established in

  330.1 of this chapter.” 13 Defendants failed to meet this standard as further described below.

          14.     The manufacture of any misbranded or adulterated drug is prohibited under

  federal law 14 and Florida state law. 15

          15.     The introduction into commerce of any misbranded or adulterated drug is

  similarly prohibited. 16




  11
     21 CFR §352.10.
  12
     https://www.fda.gov/drugs/understanding-over-counter-medicines/sunscreen-how-help-
  protect-your-skin-sun.
  13
     21 CFR §352.1
  14
     21 U.S.C. §331(g).
  15
     See Fla. Stat. § 499.005(1) (“It is unlawful for a person to perform or cause the performance of
  any of the following acts in this state: (1) The manufacture, repackaging, sale, delivery, or
  holding or offering for sale of any drug, device, or cosmetic that is adulterated or misbranded or
  has otherwise been rendered unfit for human or animal use.”).
  16
     21 U.S.C. §331(a); Fla. Stat. § 499.005(1).
Case 0:21-cv-61103-AHS
         Case 3:21-cv-04869-JD
                        Document
                               Document
                                 1 Entered
                                        1-4onFiled
                                              FLSD 06/24/21
                                                    Docket 05/25/2021
                                                            Page 10 of 25
                                                                       Page 9 of 24




         16.       The receipt in interstate commerce of any adulterated or misbranded drug is also

  unlawful. 17

         17.       Among the ways a drug may be adulterated are:

                   If it consists in whole or in part of any filthy, putrid, or decomposed
                   substance; or . . . whereby it may have been rendered injurious to
                   health; . . . . 18

         18.       A drug is misbranded:

                   (a) “If its labeling is false or misleading in any particular.” 19

                   (b) If the labeling does not contain, among other things, “the proportion of each

         active ingredient[.]” 20

                   (d) “If it is dangerous to health when used in the dosage or manner, or with the

         frequency or duration prescribed, recommended, or suggested in the labeling thereof.” 21

         19.       If a manufacturer labels a drug but omits ingredients, that renders the drug

  misbranded. 22



  17
     21 U.S.C. §331(c); see also Fla. Stat. § 499.005(3)(“It is unlawful for a person to perform or
  cause the performance of any of the following acts in this state: … (3) The receipt of any drug,
  device, or cosmetic that is adulterated or misbranded, and the delivery or proffered delivery of
  such drug, device, or cosmetic, for pay or otherwise.”).
  18
     21 U.S.C. §351(a)(2)(B); see also Fla. Stat. § 499.006(1) & (2) (“A drug or device is
  adulterated, if any of the following apply: (1) It consists in whole or in part of any filthy, putrid,
  or decomposed substance[;] (2) It has been produced, prepared, packed, or held under conditions
  whereby it could have been contaminated with filth or rendered injurious to health.”).
  19
     21 U.S.C. §352(a)(1); see also Fla. Stat. § 499.007(1) (A drug is misbranded “[i]f its labeling
  is in any way false or misleading.”).
  20
     21 U.S.C. §352(e)(1)(A)(ii). See also Fla. Stat. § 499.007(2)(b) (“A drug or device is
  misbranded: … (2) If in package form, it does not bear a label containing: (b) An accurate
  statement of the quantity of the contents in terms of weight, measure, or numerical count.”).
  21
     21 U.S.C. §352(j); see also Fla. Stat. § 499.007(10) (A drug is misbranded “[i]f it is dangerous
  to health when used in the dosage or with the frequency or duration prescribed, recommended, or
  suggested in the labeling of the drug.”).
  22
     21 C.F.R. §§201.6. “The labeling of a drug may be misleading by reason (among other
  reasons) of: … (2) Failure to reveal the proportion of, or other fact with respect to, an ingredient
  present in such drug, when such proportion or other fact is material in the light of the
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 11 of Page
                                                                          25 10 of 24




         20.     Because Defendants did not disclose benzene, a known human carcinogen, may

  be present in the Sunscreen Products purchased by Plaintiff and the putative class members, their

  Sunscreen Products are adulterated and misbranded. There is no “no safe level of benzene”

  exposure, so it is unsuitable for human application as an ingredient in sunscreen. 23

         21.      Defendant wrongfully advertised and sold the Neutrogena Sunscreen Products

  without any labeling to indicate to consumers that these products may contain benzene. The

  following image shows an example:




  representation that such ingredient is present in such drug.” 21 C.F.R. §201.10(2). See also Fla.
  Stat. § 499.007(2)(b) (“A drug or device is misbranded: … (2) If in package form, it does not
  bear a label containing: (b) An accurate statement of the quantity of the contents in terms of
  weight, measure, or numerical count.”).
  23
     https://www.who.int/ipcs/features/benzene.pdf.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 12 of Page
                                                                          25 11 of 24




         22.     Plaintiff has standing to represent members of the putative class because there is

  sufficient similarity between the specific Sunscreen Products purchased by the Plaintiff and the

  other Sunscreen Products not purchased by Plaintiff. Specifically, each and every one of

  Defendants’ Sunscreen Products (i) are marketed in substantially the same way – as

  “Sunscreen”— and (ii) fail to include labeling indicating to consumers that the Sunscreen

  Products may contain benzene as an active or inactive ingredient. Accordingly, the misleading

  effect of all of the Sunscreen Products are substantially the same.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 13 of Page
                                                                          25 12 of 24




                                    CLASS ALLEGATIONS

         23.     Plaintiff brings this action on behalf of herself and all other similarly situated

  class members (the “Class”) pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules

  of Civil Procedure and seeks certification of the following class against Defendants for

  violations of Florida state laws and/or similar laws in other states:

                 Multi-State Class Action

                 All consumers who purchased any lotion or spray Neutrogena
                 Sunscreen Product in the United States of America and its territories
                 (excluding California) from May 25, 2017 to the present for
                 personal use or consumption.

                 Excluded from the Class are individuals who allege personal bodily
                 injury resulting from the use of Neutrogena Sunscreen Products.
                 Also excluded from this Class are Defendants, any parent
                 companies, subsidiaries, and/or affiliates, officers, directors, legal
                 representatives, employees, co-conspirators, all governmental
                 entities, and any judge, justice or judicial officer presiding over this
                 matter.

         24.     In the alternative, Plaintiff brings this action on behalf of herself and all other

  similarly situated Florida consumers pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal

  Rules of Civil Procedure and seeks certification of the following class:

                 Florida-Only Class Action

                 All consumers who purchased any lotion or spray Neutrogena
                 Sunscreen Product in the State of Florida from May25, 2017 to the
                 present for personal use or consumption.

                 Excluded from the Class are individuals who allege personal bodily
                 injury resulting from the use of Neutrogena Sunscreen Products.
                 Also excluded from this Class are Defendants, any parent
                 companies, subsidiaries, and/or affiliates, officers, directors, legal
                 representatives, employees, co-conspirators, all governmental
                 entities, and any judge, justice or judicial officer presiding over this
                 matter.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 14 of Page
                                                                          25 13 of 24




          25.      The members of the Class are so numerous that joinder of all members of the

  Class is impracticable. Plaintiff is informed and believes that the proposed Class contains

  thousands of purchasers of Defendants’ Sunscreen Products who have been damaged by

  Defendants’ conduct as alleged herein. The precise number of Class members is unknown to

  Plaintiff at this time.

          26.      Plaintiff’s claims are typical to those of all class members because members of

  the class are similarly injured through Defendants’ uniform misconduct described above and

  were subject to Defendants’ deceptive sunscreen claims that accompanied each and every

  sunscreen product in the Neutrogena collection. Plaintiff is advancing the same claims and legal

  theories on behalf of himself and all members of the Class.

          27.      Plaintiff’s claims raise questions of law and fact common to all members of the

  Class, and they predominate over any questions affecting only individual Class members. The

  claims of Plaintiff and all prospective Class members involve the same alleged defect. These

  common legal and factual questions include the following:

             (a)   whether Defendants’ Sunscreen Products contained benzene;

             (b) whether Defendants’ omissions are true, or are misleading, or objectively

                   reasonably likely to deceive;

             (c)   whether the alleged conduct constitutes violations of the laws asserted;

             (d) whether Defendants’ alleged conduct violates public policy;

             (e)   whether Defendants engaged in false or misleading advertising;

             (f) whether Defendants were unjustly enriched as a result of their labeling,

                   marketing, advertising and/or selling of the Sunscreen Products;
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 15 of Page
                                                                          25 14 of 24




              (g) whether Plaintiff and the Class members are entitled to damages and/or

                  restitution and the proper measure of that loss; and

              (h) whether an injunction is necessary to prevent Defendants from continuing to

                  market and sell defective and adulterated Sunscreen Products that contain

                  benzene, a known human carcinogen.


            28.   Plaintiff and her counsel will fairly and adequately protect and represent the

  interests of each member of the class. Plaintiff has retained counsel experienced in complex

  litigation and class actions. Plaintiff’s counsel has successfully litigated other class action cases

  similar to that here and have the resources and abilities to fully litigate and protect the interests

  of the class. Plaintiff intends to prosecute this claim vigorously. Plaintiff has not adverse or

  antagonistic interests to those of the Class, nor is Plaintiff subject to any unique defenses.

            29.   A class action is superior to the other available methods for a fair and efficient

  adjudication of this controversy. The damages or other financial detriment suffered by the

  Plaintiff and individual Class members is relatively small compared to the burden and expense

  that would be entailed by individual litigation of their claims against Defendants. It would thus

  be virtually impossible for Plaintiff and Class members, on an individual basis, to obtain

  effective redress for the wrongs done to them. Further, it is desirable to concentrate the litigation

  of the Class members’ claims in one forum, as it will conserve party and judicial resources and

  facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would be

  encountered in the management of this case that would preclude its maintenance as a class

  action.

            30.   The Class also may be certified because Defendants have acted or refused to act
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 16 of Page
                                                                          25 15 of 24




  on grounds applicable to the Class, thereby making appropriate final declaratory and/or

  injunctive relief with respect to the members of the Class as a whole.

         31.     Plaintiff seeks preliminary and permanent injunctive and equitable relief on behalf

  of the entire Class, on grounds generally applicable to the entire Class, to enjoin and prevent

  Defendants from engaging in the acts described above, such as continuing to market and sell

  Sunscreen Products that may be adulterated with benzene, and requiring Defendants to provide a

  full refund of the purchase price of the Sunscreen Products to Plaintiff and Class members.

         32.     Unless a Class is certified, Defendants will retain monies received as a result of

  their conduct that were taken from Plaintiff and the Class members. Unless a Class-wide

  injunction is issued, Defendants will continue to commit the violations alleged and the members

  of the Class and the general public will continue to be misled.

                                    FIRST CAUSE OF ACTION

   Violation of Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. §§ 501.201-213

                   (On Behalf of the Multi-State Class and Florida-Only Class)

         33.     Plaintiff incorporates by reference and re-alleges each and every allegation

  contained above, as though fully set forth herein.

         34.     Plaintiff brings this claim individually and on behalf of the Class.

         35.     The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) renders

  unlawful unfair methods of competition, unconscionable acts or practice, and unfair or deceptive

  acts or practices in the conduct of any trade or commerce. § 501.204, Fla. Stat.

         36.     Among other purposes, FDUTPA is intended “[t]o protect the consuming public

  and legitimate business enterprises from those who engage in unfair methods of competition, or
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 17 of Page
                                                                          25 16 of 24




  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

  § 501.202, Fla. Stat.

          37.     As alleged herein, Plaintiff has suffered injury in fact and lost money as a result of

  Defendants’ conduct because she purchased Sunscreen Products from Defendants in reliance on

  Defendants’ representation that the ingredients in their Sunscreen Products were safe and

  effective and were not adulterated with benzene, a known human carcinogen.

          38.     As alleged herein, Defendants’ actions are deceptive and in clear violation of

  FDUTPA, entitling Plaintiff and the Class to damages and relief under Fla. Stat. §§ 501.201-213.

          39.     Defendants have engaged, and continue to engage, in conduct that is likely to

  deceive members of the public. This conduct includes representing in their labels that their

  Sunscreen Products contain only the ingredients listed in the label, which is untrue, and failing to

  make any mention that the certain Sunscreen Products are adulterated with benzene, a known

  human carcinogen.

          40.     Similarly, Defendants have engaged, and continue to engage, in deceptive, untrue,

  and misleading advertising by “promising” to consumers, among other things, (i) that they

  “carefully select ingredients,” 24 (ii) that “safety is paramount,” 25 (iii) that they “avoid

  unnecessary and harsh ingredients,” 26 and (iv) that “the sunscreen ingredients we use are safe

  and effective . . . ” 27 when in fact their Sunscreen Products do contain a known (but undisclosed)




  24
     https://www.neutrogena.com/our-promise.html.
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     https://www.neutrogena.com/our-promise.html.
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     https://www.neutrogena.com/our-promise.html.
  27
     https://www.neutrogenamd.com/sites/neutrogenahcp_us/files/20190416-fda-proposal-guide-
  3b.cocoon.pdf.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 18 of Page
                                                                          25 17 of 24




  human carcinogen (i.e. benzene). The following image shows an example of such deceptive

  advertising:




            Carefully Selected Ingredients

            At Neutrogena®, safety is paramount. What we include in our products is just as
            important as what we exclude from them. We strive to avoid unnecessary and harsh
            ingredients and we prioritize ingredients that are not only safe for your skin, but
            also safe for the planet, throughout the lifecycle of our products. We are committed
            to ingredient transparency so you can make informed decisions for your skin
            health. 28




  28
       https://www.neutrogena.com/our-promise.html.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 19 of Page
                                                                          25 18 of 24




         41.     By committing the acts alleged above, Defendants have engaged in

  unconscionable, deceptive, or unfair acts or practices, which constitute unfair competition within

  the meaning of FDUTPA. 29

         42.     Defendants’ conduct is substantially injurious to consumers. Consumers are

  purchasing and, as instructed in the label, “apply[ing] liberally” Defendants’ Sunscreen Products

  without knowledge that there is a risk the Sunscreen Products may be adulterated with a human

  carcinogen. This conduct has caused, and continues to cause, substantial injury to consumers

  because consumers would not have paid for sunscreens potentially adulterated with benzene but

  for Defendants’ false labeling, advertising, and promotion. Thus, Plaintiffs and the putative Class

  have been “aggrieved” (i.e. lost money) as required for FDUTPA standing, and such an injury is

  not outweighed by any countervailing benefits to consumers or competition.

         43.     Indeed, no benefit to consumers or competition results from Defendants’ conduct.

  Since consumers reasonably rely on Defendants’ representation of the ingredients contained in

  their Sunscreen Products’ labels and injury resulted from ordinary use of the Sunscreen Products,

  consumers could not have reasonably avoided such injury.

         44.     Further, Defendants’ conduct is ongoing and continuing, such that prospective

  injunctive relief is necessary. Plaintiff is a long time user of Defendants’ Sunscreen Products,

  and she desires to purchase Defendants’ Sunscreen Products in the future if she can be assured

  that the Sunscreen Products are unadulterated and meet the advertising claims. Absent injunctive

  relief, Defendants may continue to advertise, promote and sell adulterated Sunscreen Products

  that deceive the public as to their ingredients and safety. Plaintiff is thus likely to again be



  29
    Defendants’ conduct violates Section 5 of the Federal Trade Commission “(“FTC”) Act, 15
  U.S.C. § 45, which prohibits unfair methods of competition and unfair or deceptive acts or
  practices in or affecting commerce.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 20 of Page
                                                                          25 19 of 24




  wronged in a similar way. For example, if Plaintiff encounters Defendants’ Sunscreen Products

  in the future and there is a risk those products still contain benzene, Plaintiff may mistakenly rely

  on the product’s label to believe that Defendants eliminated benzene when they did not.

          45.     Florida Statutes, Section 501.204, makes unfair and/or deceptive trade practices in

  the conduct of any trade or commerce illegal.

          46.     Florida Statutes, Section 501.211, creates a private right of action for individuals

  who are aggrieved by an unfair and/or deceptive trade practice by another person.

          47.     Florida Statutes, Section 501.2105, provides that the prevailing party in litigation

  arising from a cause of action pursuant to Chapter 501 shall be entitled to recover attorney’s fees

  within the limitations set forth therein form the non-prevailing party.

          48.     Florida Statutes, Section 501.213, provides that any remedies available under

  Chapter 501 are in addition to any other remedies otherwise available for the same conduct under

  state or local law.

          49.     Florida Statutes, Section 501.203 (3)(c), states that a person has violated the

  FDUTPA if he violates “any law, statute, rule, regulation, or ordinance which proscribes unfair,

  deceptive, or unconscionable acts or practices.”

          50.     Defendants are engaged in the practice of manufacturing, marketing, distributing,

  selling and otherwise placing into the stream of commerce Sunscreen Products which constitutes

  trade and commerce as defined by Sections 501.203(8) Fla. Stat., and is therefore subject to

  FDUPTA.

          51.     As a result of Defendants’ unfair and deceptive trade practices, Plaintiff and the

  putative Class s are entitled to an award of attorney’s fees pursuant to FDUTPA, Florida

  Statutes, Section 501.2105, if she prevails.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 21 of Page
                                                                          25 20 of 24




         37.     Wherefore, Plaintiff prays for judgement against Defendants, as set forth

  hereafter. Defendants’ conduct with respect to the labeling, advertising, marketing, and sale of

  their Sunscreen Products is unfair because Defendant’s conduct was immoral, unethical,

  unscrupulous, or substantially injurious to consumers and the utility of its conduct, if any, does

  not outweigh the gravity of the harm to its victims.

         53.      In accordance with FDUTPA, 30 Plaintiff seeks an order enjoining Defendants

  from continuing to conduct business through fraudulent or unlawful acts and practices and to

  commence a corrective advertising campaign. Defendants’ conduct is ongoing and continuing,

  such that prospective injunctive relief is necessary.

         54.      On behalf of Plaintiff and the putative Class, Plaintiff also seeks an order

  entitling them to recover all monies spent on the Defendants’ Sunscreen Products, which were

  acquired through acts of fraudulent, unfair, or unlawful competition. 31 In addition, the measure

  of restitution should be full refund of the purchase price insofar as the Sunscreen Products and

  their associated labels are worthless. But for Defendants’ misrepresentations and omissions,

  Plaintiff would have paid nothing for Sunscreen Products that have a risk of containing a known

  human carcinogen (i.e. benzene). Indeed, there is no discernible “market” for an over-the-counter

  sunscreen product that may be adulterated with a known human carcinogen. As recognized by

  the WHO, “[b]enzene is carcinogenic to humans, and no safe level of benzene can be

  recommended.” 32 As a result, the Defendants’ Sunscreen Products are rendered valueless.




  30
     Section 501.211(1) allows “anyone aggrieved by a violation of” FDUTPA to seek declaratory
  or injunctive relief. Fla. Stat. §501.211.
  31
     Section 501.211(2) provides that “a person who has suffered a loss as a result of a [FDUTPA]
  violation ... may recover actual damages . . . .”
  32
     https://www.who.int/ipcs/features/benzene.pdf.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 22 of Page
                                                                          25 21 of 24




           55.   Wherefore, Plaintiff and members of the Class are entitled to injunctive and

  equitable relief, and a full refund in the amount they spent on the Defendants’ Sunscreen

  Products.

                                   SECOND CAUSE OF ACTION

                                          Unjust Enrichment

                   (On Behalf of the Multi-State Class and Florida-Only Class)

           52.   Plaintiff incorporates by reference and re-alleges each and every allegation

  contained above, as though fully set forth herein.

           53.   As a result of Defendants’ wrongful and deceptive conduct alleged herein,

  Defendants knowingly and voluntarily accepted and retained wrongful benefits in the form of

  money paid by the Plaintiff and members of the Class when they purchased the Sunscreen

  Products.

           54.   In so doing, Defendants acted with conscious disregard for the rights of Plaintiff

  and members of the Class.

           55.   As a result of Defendants’ wrongful conduct as alleged herein, Defendants have

  been unjustly enriched at the expense of, and to the detriment of, Plaintiff and members of the

  Class.

           56.   Defendants’ unjust enrichment is traceable to, and resulted directly and

  proximately from, the conduct alleged herein.

           57.   Under the common law doctrine of unjust enrichment, it is inequitable for

  Defendants to be permitted to retain the benefits it received, and is still receiving, without

  justification, from the false and deceptive labeling and marketing of the Sunscreen Products to

  Plaintiff and members of the Class.
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 23 of Page
                                                                          25 22 of 24




         58.     Defendants’ retention of such funds under circumstances making it inequitable to

  do so constitutes unjust enrichment.

         59.     The financial benefits derived by Defendants rightfully belong to Plaintiff and

  members of the Class.

         60.     Defendants should be compelled to disgorge in a common fund for the benefit of

  Plaintiff and members of the Class all wrongful or inequitable proceeds received by them.

         61.     Finally, Plaintiff and members of the Class may assert an unjust enrichment claim

  even though a remedy at law may otherwise exist. 33

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

  for judgment against the Defendants as to each and every count, including:

         A.      An order declaring this action to be a proper class action, appointing Plaintiff and

                 their counsel to represent the Class, and requiring Defendants to bear the costs of

                 class notice;

         B.      An order enjoining Defendants from selling the Sunscreen Products;

         C.      An order enjoining Defendants from suggesting or implying that they are safe and

                 effective for human application;




  33
    See State Farm Mut. Auto Ins. Co. v. Physicians Injury Care Ctr., 427 F. App'x 714, 723 (11th
  Cir. 2011), rev'd on other grounds, 824 F.3d 1311 (The general rule that “equitable remedies are
  not available under Florida law when adequate legal remedies exist . . . does not apply to unjust
  enrichment claims.”); see also Morris v. ADT Sec. Services, 580 F.Supp.2d 1305, 1312-13 (S.D.
  Fla. 2008); In re Monat Hair Prods. Mktg., Sales Prac., and Prods. Liab. Litig., 2019 WL
  5423457, at *5 (S.D. Fla. Oct. 23, 2019); Garcia v. Clarins USA, Inc., 2014 WL 11997812, at *5
  (S.D. Fla. Sept. 5, 2014); Goldberg v. Chong, 2007 WL 2028792 at *9 (S.D. Fla. July 11, 2007).
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 24 of Page
                                                                          25 23 of 24




         D.      An order requiring Defendants to engage in a corrective advertising campaign and

                 engage in any further necessary affirmative injunctive relief, such as recalling

                 existing Sunscreen Products;

         E.      An order awarding declaratory relief, and any further retrospective or prospective

                 injunctive relief permitted by law or equity, including enjoining Defendants from

                 continuing the unlawful practices alleged herein, and injunctive relief to remedy

                 Defendants’ past conduct;

         F.      An order requiring Defendants to pay restitution/damages to restore all funds

                 acquired by means of any act or practice declared by this Court to be an unlawful,

                 unfair, or fraudulent business act or practice, untrue or misleading advertising in

                 violation of the FDUTPA, plus pre- and post-judgment interest thereon;

         G.      An order requiring Defendant to disgorge any ill-gotten benefits received from

                 Plaintiff and members of the Class as a result of any wrongful or unlawful act or

                 practice;

         H.      An order requiring Defendant to pay all actual and statutory damages permitted

                 under the counts alleged herein;

         I.      An order awarding attorneys' fees and costs to Plaintiff and the Class; and

         J.      An order providing for all other such equitable relief as may be just and proper.

                                      DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues so triable.



  DATED: May 25, 2021
Case 0:21-cv-61103-AHS
          Case 3:21-cv-04869-JD
                         DocumentDocument
                                  1 Entered
                                          1-4on Filed
                                                FLSD06/24/21
                                                      Docket 05/25/2021
                                                               Page 25 of Page
                                                                          25 24 of 24




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               Case 3:21-cv-04869-JD Document 1-5 Filed 06/24/21 Page 1 of 4




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17
                                UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19

20   KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
     Individually and on Behalf of All Others Similarly
21   Situated,                                                  DECLARATION OF MATTHEW
                                   Plaintiffs,                  PLUGUES IN SUPPORT OF
22                                                              JOHNSON & JOHNSON
23          vs.                                                 CONSUMER INC.’S NOTICE OF
                                                                REMOVAL
24   NEUTROGENA CORPORATION and JOHNSON
     & JOHNSON CONSUMER COMPANIES, INC.;                        Removed from the Superior Court of
25                       Defendants.                            California, Alameda County, Case No.
                                                                RG21101025
26
                                                                State Court action filed: May 26, 2021
27

28   KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
     Individually and on Behalf of All Others Similarly
     Situated,                                                  DECLARATION OF MATTHEW
                                   Plaintiffs,                  PLUGUES IN SUPPORT OF
                                                                JOHNSON & JOHNSON
                 Case 3:21-cv-04869-JD Document 1-5 Filed 06/24/21 Page 2 of 4




 1                           DECLARATION OF MATTHEW PLUGUES

 2          I, Matthew Plugues, declare under penalty of perjury as follows:

 3          1.      I have been employed by Johnson & Johnson Consumer Inc. (“JJCI”) since

 4   February 2016. Since December 2019, my title has been Director of Skin Health, Consumer &

 5   Business Intelligence. In this role, I lead consumer and marketplace insights for the skin care

 6   brands marketed by JJCI in the United States, including Neutrogena®. Among other things, this

 7   includes commissioning custom research and leveraging existing syndicated resources, such as

 8   Nielsen sales measurement data, to analyze performance of the company’s brands and products.

 9          2.      I have personal knowledge of the facts set forth below and, if called and sworn as

10   a witness, could and would testify as set forth in this Declaration.

11          3.      I understand that this lawsuit seeks refunds on behalf of California retail

12   purchasers of the following 26 Neutrogena-brand sunscreen and sun care products (collectively,

13   the “Sunscreen Products”):

14                  Age Shield Face Sunscreen Lotion SPF 110;

15                  Age Shield Face Sunscreen Lotion SPF 70;

16                  Beach Defense Oil-Free Body Sunscreen Spray SPF 100;

17                  Beach Defense Water Plus Sun Protection Sunscreen Broad Spectrum Lotion SPF

18                  70;

19                  Cooldry Sport Water-Resistant Sunscreen Spray SPF 50;

20                  Cooldry Sport Water-Resistant Sunscreen Spray SPF 70;

21                  Healthy Defense Daily Moisturizer with Sunscreen SPF 50;

22                  Hydro Boost Water Gel Lotion Sunscreen SPF 50;

23                  Kids Water-Resistant Sunscreen Spray Oil-Free SPF 70;

24                  Oil-free Facial Moisturizer with Sunscreen SPF 15;

25                  Pure & Free Baby Sunscreen Lotion SPF 50;

26                  Sensitive Skin Sunscreen Lotion With SPF 60+;
27                  Sheer Zinc Dry-Touch Face Sunscreen SPF 50;

28                                                    -2-
                 Case 3:21-cv-04869-JD Document 1-5 Filed 06/24/21 Page 3 of 4




 1                  Ultra Sheer Body Mist Sunscreen Broad Spectrum SPF 30 Spray;

 2                  Ultra Sheer Body Mist Sunscreen Broad Spectrum SPF 45;

 3                  Ultra Sheer Dry-Touch Sunscreen Lotion Broad Spectrum SPF 55;

 4                  Ultra Sheer Dry-Touch Sunscreen Lotion SPF 30;

 5                  Ultra Sheer Dry-Touch Sunscreen SPF 45;

 6                  Ultra Sheer Dry-Touch Water Resistant Sunscreen SPF 70;

 7                  Ultra Sheer Face Mist Sunscreen SPF 55;

 8                  Ultra Sheer Face Mist Sunscreen Spray - SPF 55;

 9                  Ultra Sheer Liquid Sunscreen Lotion, Broad Spectrum SPF 70;

10                  Ultra Sheer Sunscreen Lotion SPF 100+;

11                  Ultra Sheer Weightless Sunscreen Spray, SPF 100+;

12                  Ultra Sheer Weightless Sunscreen Spray, SPF 70; and

13                  Wet Skin Swim Humidity Sweat Sunscreen Broad Spectrum SPF 30.

14   (Compl. ¶ 10; Am. Compl. ¶ 5.)

15          4.      As discussed above, my job responsibilities include obtaining and analyzing

16   syndicated retail sales data collected by Nielsen, a leading market measurement firm. In the

17   regular course of its business, Nielsen routinely tracks sales information from retail stores across

18   the United States and around the world, including by collecting electronic point of sale (i.e.,

19   cash-register scan) data and conducting store inventory and price audits. Nielsen then makes this

20   data available to clients such as JJCI, who use and rely on it in the regular course of their

21   business to track and understand their sales performance.

22          5.      On or about June 9, 2021, I obtained data from Nielsen reflecting retail sales of

23   the Sunscreen Products in the state of California during the period from May 25, 2017 through

24   and including May 29, 2021. By “retail sales,” I mean the actual amounts paid by end-

25   consumers to purchase the Sunscreen Products in retail stores.

26          6.      The data that I obtained from Nielsen reflect retail sales in a subset of California
27   stores, rather than all California stores. In particular, the data I obtained from Nielsen through

28                                                    -3-
Case 3:21-cv-04869-JD Document 1-5 Filed 06/24/21 Page 4 of 4
              Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 1 of 26




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17
                                UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19

20   KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
     Individually and on Behalf of All Others Similarly
21   Situated,                                                  DECLARATION OF JENNIFER
                                   Plaintiffs,                  SHEEHY IN SUPPORT OF
22                                                              JOHNSON & JOHNSON
23          vs.                                                 CONSUMER INC.’S NOTICE OF
                                                                REMOVAL
24   NEUTROGENA CORPORATION and JOHNSON
     & JOHNSON CONSUMER COMPANIES, INC.;                        Removed from the Superior Court of
25                       Defendants.                            California, Alameda County, Case No.
                                                                RG21101025
26
                                                                State Court action filed: May 26, 2021
27

28   KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
     Individually and on Behalf of All Others Similarly
     Situated,                                                  DECLARATION OF MATTHEW
                                   Plaintiffs,                  PLUGUES IN SUPPORT OF
                                                                JOHNSON & JOHNSON
                 Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 2 of 26




 1

 2                             DECLARATION OF JENNIFER SHEEHY

 3          I, Jennifer Sheehy, declare under penalty of perjury as follows.

 4          1.       At all times herein mentioned, I am and have been employed by Johnson &

 5   Johnson. My title is Assistant General Counsel. I have personal knowledge of the facts set forth

 6   below and, if called and sworn as a witness, could and would testify as set forth in this

 7   Declaration.

 8          2.       Prior to June 29, 2015, Johnson & Johnson’s operating companies included the

 9   two entities named as defendants in the caption of the Complaint in this case: Neutrogena

10   Corporation and Johnson & Johnson Consumer Companies, Inc. Neutrogena Corporation was a

11   Delaware corporation with its principal place of business in California. Johnson & Johnson

12   Consumer Companies, Inc. was a New Jersey corporation with its principal place of business in

13   New Jersey.

14          3.       On June 29, 2015, certain of Johnson & Johnson’s operating companies, including

15   both Neutrogena Corporation and Johnson & Johnson Consumer Companies, Inc., underwent a

16   multi-step corporate restructuring.

17          4.       On that date, as relevant here, Neutrogena Corporation was converted to a

18   Delaware limited liability company known as Neutrogena, LLC. Attached hereto as Exhibit 1 is

19   a true and correct copy of the Certification of Conversion to Limited Liability Company of

20   Neutrogena Corporation and the Certification of Formation of Neutrogena, LLC.

21          5.       Next, a new Delaware limited liability company known as Johnson & Johnson

22   Consumer Companies, LLC was formed. Attached hereto as Exhibit 2 is a true and correct copy

23   of the Certification of Formation of Johnson & Johnson Consumer Companies, LLC.

24          6.       Thereafter, Johnson & Johnson Consumer Companies, Inc. merged into the newly

25   formed Johnson & Johnson Consumer Companies, LLC. Attached hereto as Exhibit 3 is a true

26   and correct copy of the Certification of Merger of Johnson & Johnson Consumer Companies,
27   Inc. (a New Jersey Corporation) with and into Johnson & Johnson Consumer Companies, LLC (a

28                                                   -2-
                 Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 3 of 26




 1   Delaware Limited Liability Company).

 2          7.       Finally, both Neutrogena, LLC and Johnson & Johnson Consumer Companies,

 3   LLC (along with a third entity not relevant here, Johnson & Johnson Sales and Logistics

 4   Company, LLC) merged into a pre-existing subsidiary of Johnson & Johnson known as McNeil-

 5   PPC, Inc., a New Jersey corporation with its principal place of business in New Jersey. Attached

 6   hereto as Exhibit 4 is a true and correct copy of the Certification of Merger of Neutrogena, LLC

 7   (a Delaware Limited Liability Company) and Johnson & Johnson Consumer Companies, LLC (a

 8   Delaware Limited Liability Company) and Johnson & Johnson Sales and Logistics Company,

 9   LLC (a New Jersey Limited Liability Company) with and into McNeil-PPC, Inc. (a New Jersey

10   Corporation).

11          8.       Simultaneously, the name of McNeil-PPC, Inc. was changed to Johnson &

12   Johnson Consumer Inc. (“JJCI”). Attached hereto as Exhibit 5 is a true and correct copy of the

13   Certificate of Merger/Consolidation and Amended and Restated Certificate of Incorporation of

14   Johnson & Johnson Consumer Inc.

15          9.       Out of all of the entities involved in this series of transactions, the only surviving

16   entity was and is JJCI. As such, the two entities named as defendants in the Complaint in this

17   action—Neutrogena Corporation and Johnson & Johnson Consumer Companies, Inc.—have not

18   existed as independent entities since June 29, 2015.

19          10.      At all times since June 29, 2015, and continuing to the present, JJCI has remained

20   a New Jersey corporation with its principal place of business in New Jersey.

21

22          I declare under penalty of perjury under the laws of the United States that the foregoing is

23   true and correct.

24

25

26
27

28                                                     -3-
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 4 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 5 of 26




           EXHIBIT 1
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 6 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 7 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 8 of 26
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Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 11 of 26




           EXHIBIT 2
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 12 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 13 of 26




           EXHIBIT 3
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 14 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 15 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 16 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 17 of 26




           EXHIBIT 4
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Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 19 of 26
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Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 21 of 26
Case 3:21-cv-04869-JD Document 1-6 Filed 06/24/21 Page 22 of 26




           EXHIBIT 5
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 Bradley/Grombacher, LLP, 31365 Oak Crest Drive, Suite 240, Westlake Village, California, 91361 850-202-1010         Lafayette & Kumagai LLP, 1300 Clay Street, Suite 810, Oakland, CA 94612, (415) 357-4600

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